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                                                                   July 12, 2022
Via CM/ECF
Hon Georgette Castner, U.S.D.J.
United States District Court for the District of New Jersey

        Re:     Cvitan v. Police and Firemen's Retirement System of New Jersey, et al.
                Docket No.: 3:22-cv-02385-GC-RLS

Dear Judge Castner:

        I represent the Plaintiff. I am writing in regards to Defendant Muoio’s reply brief to its

motion to dismiss. [DE 12]. In it, the Defendant Muoio raises several new arguments for the first

time. I am requesting that they be disregarded, as a party may not raise new arguments in a reply

brief. “Fundamental fairness demands that [a party] should have had notice and a meaningful

opportunity to respond prior to [a motion being decided] on grounds raised for the first time in

[another party’s] reply brief.” Alston v. Forsyth, 379 F. App'x 126, 129 (3d Cir. 2010) (reversing

district court for deciding a summary judgment motion on the basis of an argument raised for the

first time in a reply brief).



                                               Regards,
                                               /s/ Jordan B. Dascal
                                                  Jordan B. Dascal, Esq.
cc: Adversary (via CM/ECF)
